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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )
                                             )
                     Plaintiff,              )
                                             )                 8:15CR164
       vs.                                   )
                                             )                   ORDER
JACOB BARRICKMAN,                            )
                                             )
                     Defendant.              )
                                             )


      This matter is before the court on defendant’s unopposed motion to continue trial
[71] as counsel needs additional time to review discovery.The defendant has previously
complied with NECrimR 12.1(a). See filing [67]. For good cause shown,

       IT IS ORDERED that the motion to continue trial is granted, as follows:

       1. The jury trial currently set for February 23, 2016 is continued to June 14, 2016.

        2. In accordance with 18 U.S.C. § 3161(h)(7)(A), the court finds that the ends of
justice will be served by granting this continuance and outweigh the interests of the public
and the defendant in a speedy trial. Any additional time arising as a result of the granting
of this motion, that is, the time between today’s date and June 14, 2016 shall be deemed
excludable time in any computation of time under the requirement of the Speedy Trial Act.
Failure to grant a continuance would deny counsel for the defendant the reasonable time
necessary for effective preparation, taking into account the exercise of due diligence. 18
U.S.C. § 3161(h)(7)(A) & (B)(iv).

       DATED February 19, 2016.

                                          BY THE COURT:

                                          s/ F.A. Gossett
                                          United States Magistrate Judge
